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                    EXHIBIT D
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                          Confidential



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
- - - - - - - - - - - - - - - - - - - - x
VIRGINIA L. GIUFFRE,

           Plaintiff,
                                     Case No.:
    -against-                        15-cv-07433-RWS

GHISLAINE MAXWELL,

           Defendant.

- - - - - - - - - - - - - - - - - - - - x

                    **CONFIDENTIAL**

           Continued Videotaped Deposition of
     GHISLAINE MAXWELL, the Defendant herein,
     taken pursuant to subpoena, was held at
     the law offices of Boies, Schiller &
     Flexner, LLP, 575 Lexington Avenue, New
     York, New York, commencing July 22,
     2016, 9:04 a.m., on the above date,
     before Leslie Fagin, a Court Reporter
     and Notary Public in the State of New
     York.

                    - - -
          MAGNA LEGAL SERVICES
      1200 Avenue of the Americas
       New York, New York 10026
             (866) 624-6221
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 1       G. Maxwell - Confidential                             1       G. Maxwell - Confidential
 2   understand that the times I have seen him                 2   as professional massages, you were clothed or
 3   receive a massage it's been by somebody who               3   unclothed?
 4   is an adult, clearly an older person. I                   4       A. Unclothed.
 5   don't know if they're professional, but an                5       Q. Completely unclothed?
 6   older person appearing to be a professional               6       A. Typically when you receive a
 7   masseuse.                                                 7   massage you are not clothed, so I was
 8       Q. What led you to believe that the                   8   unclothed, as is the norm in a massage
 9   person giving the massage was a professional              9   situation.
10   masseuse?                                                10       Q. That is, you didn't have any
11       A. Because the massages that I                       11   clothes on, is that the case?
12   witnessed looked professional. I don't know              12       A. Generally, what happens is you are
13   how to -- I'm defining it as opposed to the              13   not wearing any clothes and you have a towel
14   ones from where people ask me inappropriate              14   or sheet that covers you while you are
15   questions, I couldn't answer, but these are              15   receiving the massage, so I would be covered
16   people who would be clothed giving a                     16   always, but underneath the sheet or towel, I
17   professional massage, it appeared to be a                17   would not be wearing any clothing.
18   professional massage, as opposed to any other            18       Q. Are you saying that the massage was
19   type of massage.                                         19   through the sheet?
20       Q. Have you ever had what you refer to               20       A. Well, in some instances, yes.
21   as a professional massage?                               21       Q. It is your testimony that when you
22       A. I have.                                           22   received what you referred to as professional
23       Q. Have you ever had what you refer to               23   massages, the masseuse didn't touch your
24   as a professional massage in any of Mr.                  24   skin, only touched the sheet?
25   Epstein's homes?                                         25          MR. PAGLIUCA: Object to the form
                                                    Page 31                                                  Page 33
 1       G. Maxwell - Confidential                             1       G. Maxwell - Confidential
 2       A. I have.                                            2      and foundation.
 3       Q. Did you ever have what you refer to                3      A. I didn't say that. I said in some
 4   as a professional massage in Mr. Epstein's                4   instances, some massages are where you don't
 5   home in New York?                                         5   touch the skin, so I have received massages
 6       A. I don't recall, but I think I have,                6   where I don't get touched, especially if it's
 7   but I don't recall. I must have, but I don't              7   just pressure, so it's through a sheet, but I
 8   recall.                                                   8   have also received massages where you are
 9       Q. Did you ever have what you refer to                9   touched and the sheet is just there for
10   as a professional massage in Mr. Epstein's               10   modesty.
11   home in Palm Beach?                                      11      Q. Have you ever received what you
12       A. I did.                                            12   referred to as a professional massage when
13       Q. Did you ever have what you refer to               13   anyone else was in the room other than the
14   as a professional massage in Mr. Epstein's               14   person that you are referring to as a
15   home in New Mexico?                                      15   professional masseuse?
16       A. I did.                                            16          MR. PAGLIUCA: Object to the form
17       Q. Did you ever have what you refer to               17      and foundation.
18   as a professional massage in Mr. Epstein's               18      A. Can you repeat the question,
19   home in Paris?                                           19   please?
20       A. I did.                                            20      Q. Have you ever received a massage
21       Q. Did you ever have what you refer to               21   when anyone was in the room other than the
22   as a professional massage in the Virgin                  22   person that you refer to as a professional
23   Islands?                                                 23   masseuse?
24       A. I did.                                            24          MR. PAGLIUCA: Same objection.
25       Q. When you had what you referred to                 25      A. I am entirely possible that in the




                                                                                        9 (Pages 30 to 33)
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 2   course of receiving a massage someone would          2   home to give him a massage, other than
 3   come in and sit and chat to me while I was           3   someone who had previously given you a
 4   getting a massage, a friend would come in.           4   massage?
 5   That has happened.                                   5       A. No, I don't think so. No, I don't
 6       Q. Do you recall that happening?                 6   think so.
 7       A. Not with specificity, I can't think           7       Q. Is it your testimony that everyone
 8   of it actually, but I know that I've had             8   that you arranged to come to Mr. Epstein's
 9   friends come in and we've talked and as I got        9   home to give Mr. Epstein a massage was
10   a massage, that has happened.                       10   somebody you had already had a massage from?
11       Q. Have you ever received a massage             11       A. No, that is not my testimony. I
12   when Mr. Epstein was present?                       12   don't recall -- there were definitely
13       A. He has entered the room and gave me          13   instances where I had a massage and -- so
14   a message or asked me a question, that has          14   what you are asking me was if anyone came to
15   happened.                                           15   the house to give him a massage that I had
16       Q. Have you ever received a massage             16   not had a massage from myself?
17   when Mr. Epstein was in the room other than         17       Q. It's a little different than that.
18   just to come in to give you a message or ask        18       A. Okay.
19   you a question?                                     19       Q. You've testified that you arranged
20          MR. PAGLIUCA: Object to the form             20   for some people to come to Mr. Epstein's home
21       and foundation.                                 21   to give him a massage, correct?
22       A. Not that I recall.                           22       A. Yes.
23       Q. Did you ever participate in                  23       Q. And at one point, I thought you had
24   arranging for anyone to give Mr. Epstein a          24   testified that before you arranged to have
25   massage?                                            25   people come to give Mr. Epstein a massage,
                                               Page 35                                                Page 37
 1        G. Maxwell - Confidential                       1       G. Maxwell - Confidential
 2       A. Part of my duties and my job -- can           2   you had -- you didn't use the word tested
 3   you repeat the question so I understand, and         3   them out, but that you had previously gotten
 4   I give you the right answer exactly.                 4   them to give you a massage so that you could
 5       Q. Did you ever participate in                   5   see how good they were, is that fair to say?
 6   arranging for anyone to give Mr. Epstein a           6      A. If I thought they were -- if I
 7   massage?                                             7   thought it was a good massage, yes, that is
 8       A. Part of my professional                       8   my testimony.
 9   responsibilities, I did, and I've testified          9      Q. What I had thought, and what I'm
10   previously, go to spas and other professional       10   now asking you is that everyone who you
11   areas and received massages from people in          11   arranged to come to Mr. Epstein's home to
12   these places, and if I felt that person was         12   give him a massage was somebody who you had
13   good or I had had a good massage, I had asked       13   already had a massage from, is that fair?
14   if they do home visits.                             14      A. Typically, yes, but that wasn't
15          In that capacity, I had, people did          15   exclusively. So I know that friends of mine,
16   come to the house in that capacity, that I          16   for instance, would have a masseuse or
17   thought were good.                                  17   masseur that they thought was very good, and
18       Q. Did you ever arrange for anyone to           18   they said this is a very good person.
19   give Mr. Epstein a massage or to come to his        19          So it is possible, and I'm pretty
20   home to give him a massage, other than              20   sure sometimes on recommendations of other
21   someone who had previously given you a              21   people, that without me having a massage from
22   massage?                                            22   them, that they may have come to the house.
23       A. Sorry, can you repeat the question?          23   So I could not testify that every single
24       Q. Did you ever arrange for anyone to           24   person that came to the house I received a
25   give Mr. Epstein a massage or to come to his        25   massage from, because that would not be true.




                                                                                10 (Pages 34 to 37)
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 2       Q. Was every person who you arranged             2       A. I know what the allegations are,
 3   to come to Mr. Epstein's house to give a             3   and I am aware of those, but as to my actual
 4   massage someone who either you had already           4   knowledge of somebody under the age of 21, I
 5   had a massage from or you had a friend who           5   can't say that I know, I can't think of
 6   recommended them as a good professional              6   anybody. I know Virginia has obviously made
 7   masseuse?                                            7   those claims and she was 17 when he met her,
 8           MR. PAGLIUCA: Object to the form             8   but other than her, I cannot think of
 9       and foundation.                                  9   anybody.
10       A. Typically, that is how that would            10       Q. Insofar as you are aware, did
11   work.                                               11   Virginia ever give Mr. Epstein a massage?
12       Q. Was there ever anyone who you                12       A. I know she said she did and I
13   arranged to come to Mr. Epstein's house to          13   believe she may have, but I don't ever see
14   give him a massage, someone who you had not         14   her giving him a massage, so I can't say.
15   previously gotten a massage from yourself or        15       Q. Leaving aside any information that
16   received a recommendation from one of your          16   you have that has come from Virginia in the
17   friends that it was a good professional             17   last decade?
18   masseuse?                                           18       A. Right.
19           MR. PAGLIUCA: Object to the form            19       Q. Going back to the time when
20       and foundation.                                 20   Virginia was less than 21, at that period of
21       A. I cannot think of anyone that would          21   time, did you believe that Virginia was
22   fit that category.                                  22   giving Mr. Epstein massages?
23       Q. You made a point in a previous               23       A. I do think she was giving him
24   answer of referring to people as adult              24   massages.
25   masseuses. Do you recall that?                      25       Q. Is it your testimony that the only
                                               Page 39                                                 Page 41
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 2       A. I do.                                         2   female that you had any reason to believe was
 3       Q. When you refer to someone as an               3   under 21 who was giving Mr. Epstein massages
 4   adult masseuse, what are you referring to?           4   was Virginia?
 5       A. I think everybody in this room is             5          MR. PAGLIUCA: Object to the form
 6   an adult.                                            6       and foundation.
 7       Q. I don't necessarily disagree with             7       A. First of all, I didn't know how old
 8   that, but what I'm asking you, since I can't         8   Virginia was, so other than Virginia, so I
 9   carry all these people with me every time            9   can't say, but other than -- I was not aware
10   somebody reads this transcript, is what do          10   of anybody else, no.
11   you mean by an adult?                               11       Q. You first met Virginia when?
12       A. Well, I think an adult is somebody           12       A. I don't know.
13   who looks older and professional and is             13       Q. Approximately?
14   someone who has lived some life and looks           14       A. I believe it was in 2000, but now
15   like any one of us in this room do, some a          15   I'm going off the knowledge that I have, not
16   little older and some a little younger.             16   from memory, so I met her the end of 2000
17       Q. You are aware that there are                 17   apparently.
18   assertions that Mr. Epstein had massages from       18       Q. And when you met Virginia in 2000,
19   females under the age of 21?                        19   how old did you think she was?
20       A. I am aware of that.                          20          MR. PAGLIUCA: Object to the form
21       Q. Insofar as you are aware, did                21       and foundation.
22   Mr. Epstein ever have a massage from anyone         22       A. I didn't think about how old she
23   under the age of 21?                                23   was. I don't recall the actual meeting of
24           MR. PAGLIUCA: Object to the form            24   Virginia, so I can't say, but I think she was
25       and foundation.                                 25   at least, I thought she was a professional




                                                                                11 (Pages 38 to 41)
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 2   masseuse as far as I can recall today, so           2   thought. I really don't recall her, so it's
 3   that would have made her, I thought that            3   hard for me to testify what I thought about
 4   would have made her, to work in a spa, I            4   her age at the time.
 5   didn't think about, and I, I thought she            5      Q. Was Virginia, in the period of
 6   appeared to be a professional masseuse.             6   around 2000, the youngest person that, as you
 7      Q. Remember questions a while ago                7   understood it, was giving Mr. Epstein
 8   where you made a big point about people being       8   massages?
 9   adult masseuses?                                    9          MR. PAGLIUCA: Object to the form
10      A. Right, yeah.                                 10      and foundation.
11      Q. When you met Virginia for the first          11      A. Again, I can't testify to her age,
12   time --                                            12   but everybody else that I can recall seemed
13      A. Right.                                       13   to be again, like I would say, adults.
14      Q. -- did you think she was an adult            14      Q. You didn't think Virginia was an
15   masseuse, as you use that term?                    15   adult, did you?
16      A. I don't recall actually meeting              16          MR. PAGLIUCA: Object to the form
17   Virginia at the time, and in fact, were it         17      and foundation.
18   not for this case, I'm not sure I would            18      A. Like I said, I don't recall her. I
19   recall her at all.                                 19   don't recall thinking about -- my memory is
20      Q. But you do recall knowing Virginia?          20   of adults giving Jeffrey massages, and as I
21      A. I do, yes.                                   21   don't really remember Virginia around that
22      Q. You do recall knowing that Virginia          22   time, I don't know what I think.
23   was giving Mr. Epstein massages, correct?          23      Q. You do remember Virginia, about
24          MR. PAGLIUCA: Object to the form            24   that time back in the 2000s, giving
25      and foundation.                                 25   Mr. Epstein massages?
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 2      A. I believe she was, but I can't say            2          MR. PAGLIUCA: Object to the form
 3   for sure.                                           3      and foundation.
 4      Q. Why do you believe Virginia was               4      A. I barely remember her at all.
 5   giving Mr. Epstein massages?                        5      Q. Whether you barely remember her or
 6      A. Today, because -- but back then.              6   not, you do remember that back in the period
 7      Q. Back then?                                    7   around 2000, Virginia was giving Mr. Epstein
 8      A. Because at some point she would               8   massages, right?
 9   have been going to the massage room to give         9          MR. PAGLIUCA: Objection to form
10   massages.                                          10      and foundation.
11      Q. Back then, in the period around              11      A. Only in the most general terms. It
12   2000?                                              12   would be somebody who would give him a
13      A. Right.                                       13   massage, and that's it.
14      Q. You believed that Virginia was               14      Q. During the period of time back in
15   giving Mr. Epstein massages, correct?              15   the period around 2000, when you knew that
16      A. I believe I did, yes.                        16   Virginia was somebody who would give
17      Q. At the time back in the period               17   Mr. Epstein a massage, was she somebody who
18   around 2000 that you believe that Virginia         18   you considered an adult?
19   was giving Mr. Epstein massages, how old did       19          MR. PAGLIUCA: Objection to form
20   you think Virginia was at the time?                20      and foundation.
21          MR. PAGLIUCA: Object to the form            21      A. I didn't consider her at all
22      and foundation.                                 22   because she is not somebody that I really
23      A. I don't believe that I -- I don't            23   interacted with.
24   know what I thought at the time. It's a long       24      Q. It is your testimony that Virginia
25   time ago and I just have no idea what I            25   was not somebody that you interacted with, is




                                                                                12 (Pages 42 to 45)
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 2   that what you're saying?                              2       MR. PAGLIUCA: We've been going for
 3        A. I said I didn't really interact --            3   about an hour this morning. I think
 4   it's not that I didn't interact with her at           4   you're probably aware that Ms. Maxwell
 5   all, but not enough for her to make a very            5   was deposed for a full seven hours on a
 6   strong and lasting impression.                        6   prior occasion. In my view, the court's
 7        Q. Is it your testimony that you                 7   order is limited and we shouldn't be
 8   interacted with Virginia, but you didn't              8   covering ground that we covered in the
 9   really interact with Virginia?                        9   prior deposition.
10           MR. PAGLIUCA: Objection to form              10       At some point, we are going to need
11        and foundation.                                 11   to call the court, if we go at this
12        A. I don't understand what that                 12   pace, for instruction about length of
13   actually even means.                                 13   time here, because my view is that this
14        Q. You said that you interacted with            14   is not supposed to be a seven-hour
15   Virginia. Do you recall that?                        15   deposition, you are not supposed to be
16        A. In the most general terms, I do              16   covering old ground, and you should be
17   recall her.                                          17   asking questions related to the, what I
18        Q. And then you testified that you              18   characterize as the eight discreet areas
19   didn't really interact with Virginia. Do you         19   related to a, quote, sexual activity
20   recall saying that?                                  20   which precedes all of the eight items in
21        A. I consider this a real interaction.          21   the court's order of July 10th.
22   I will not be forgetting this any time soon.         22       We spent a lot of time not talking
23   But the most casual of relationships, where          23   about those issues, and I suggest we get
24   you say hello or to be nice or polite, or            24   to it or we get the court on the phone
25   offer someone a glass of water or something          25   for some guidance about timing here.
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 1        G. Maxwell - Confidential                        1    G. Maxwell - Confidential
 2   is what I would term a casual interaction.            2       MR. BOIES: I'm happy to get the
 3   It is not something that, from what are we            3   court on the phone any time you like. I
 4   talking, 17, 18 years ago, something that             4   think the questions clearly relate to
 5   really sticks out in my mind.                         5   sexual activity.
 6       Q. Is it your testimony that your only            6       MR. PAGLIUCA: How old Virginia
 7   relationship with Virginia was what you               7   Roberts was or not does not relate to
 8   referred to as a casual relationship where            8   sexual activity. Her memory of how old
 9   you might say hello or offer a glass of water         9   Virginia Roberts may or may not have
10   to be polite?                                        10   been does not relate to sexual activity,
11          MR. PAGLIUCA: Objection to form               11   and it was all asked and answered in the
12       and foundation.                                  12   prior deposition.
13       A. Generally, yes, that's how I would            13       MR. BOIES: Your witness introduced
14   characterize.                                        14   the subject, asserting that all of these
15          MR. PAGLIUCA: We've been going for            15   people were adults. I didn't ask
16       about an hour. I would like to take a            16   whether they were adults at that time.
17       break.                                           17   I simply asked a general question that
18          MR. BOIES: Certainly.                         18   was expressly covered by the judge's
19          THE VIDEOGRAPHER: The time is                 19   order. Your client opened the door,
20       10:01 a.m., and we are going off the             20   volunteered this and made it necessary
21       record.                                          21   to do this.
22          (Recess.)                                     22       I am happy to go to the court any
23          THE VIDEOGRAPHER: The time is                 23   time you want, and I'm happy to go over
24       10:10 a.m., and we are back on the               24   with the court some of these questions
25       record. This also begins DVD No. 2.              25   and put it in context for the court with




                                                                               13 (Pages 46 to 49)
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 2      and foundation.                                   2   conversations with Virginia. Like I said, I
 3      A. I said I don't recall the actual               3   would actually barely remember her at all
 4   meeting, but based on the evidence that we           4   were it not for this case.
 5   have been produced, and I now believe it was         5      Q. Why, then, do you believe she was a
 6   at Mar-a-Lago that that meeting may have             6   masseuse at Mar-a-Lago?
 7   taken place.                                         7      A. Based on having met her at
 8      Q. When you met Virginia Roberts, did             8   Mar-a-Lago. I don't know why else she would
 9   you understand that she was at that time a           9   be at the house.
10   professional masseuse?                              10      Q. At what house?
11         MR. PAGLIUCA: Objection to form               11      A. Why would she come to Jeffrey's
12      and foundation.                                  12   house if she was not a masseuse at
13      A. I don't recall the actual first               13   Mar-a-Lago, why else would she come.
14   meeting, I don't know.                              14      Q. Did you ask her to come to
15      Q. Whether or not you recall the                 15   Jeffrey's house?
16   actual first meeting, was it your                   16      A. I don't recall the first meeting or
17   understanding that Virginia Roberts was a           17   how it went down that she came to give
18   professional masseuse?                              18   Jeffrey a massage or whatever she came to do.
19         MR. PAGLIUCA: Objection to form               19   All I remember as I testified in my first
20      and foundation.                                  20   deposition is that her mother came and that
21      A. I had no idea at the time, but I              21   we sat outside and I talked to her mother,
22   believe she was working at a spa, and based         22   and that she went in and met Jeffrey and then
23   on what I believe today, she was a masseuse         23   she left. And then subsequent to that, I
24   at Mar-a-Lago.                                      24   understand she gave him massages.
25      Q. When you say based on what you                25      Q. My question was a simple yes or no
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 1        G. Maxwell - Confidential                       1       G. Maxwell - Confidential
 2   believe today, you believe she was a masseuse        2   question. Did you ask her to come to
 3   at Mar-a-Lago, what is it that you've learned        3   Jeffrey's house?
 4   that leads you to believe she was a masseuse         4       A. I can't recall exactly the meeting.
 5   at Mar-a-Lago?                                       5       Q. In response, I got a paragraph that
 6       A. She worked at the spa, and that's             6   makes a number of assertions that I'm now
 7   all I know, that she was 17 and that she held        7   going to have to follow-up. I'm prepared to
 8   herself out to be a masseuse.                        8   do that, but in light of your counsel's
 9       Q. She told you she was a masseuse?              9   desire to move the deposition along, I won't
10       A. I don't know if she told me at the           10   have to follow-up things that you volunteer
11   time she was a masseuse. I believe today she        11   if you don't volunteer them.
12   was a masseuse working at Mar-a-Lago and she        12          So if you will focus on my
13   was 17 years old.                                   13   question, and if it is simply a yes or no
14       Q. You said she held herself out as a           14   answer and you give a yes or no answer, that
15   masseuse. Do you recall that?                       15   will shorten the deposition. If you want to
16       A. I just said it. The problem is I             16   say other things, I'm not going to try to
17   don't recall with specificity. I don't              17   stop you, but I am going to follow-up on what
18   recall the actual meeting, so events in my          18   you say.
19   mind are conflated with all of her stories,         19          My question now is simply, do you
20   all of the lies that have been told.                20   recall, one way or the other, as you sit here
21           So, today, I believe that she was a         21   now, whether you asked Virginia Roberts to
22   17-year-old masseuse at Mar-a-Lago.                 22   come to Mr. Epstein's house?
23       Q. Did she ever tell you that she was           23       A. I do not.
24   a masseuse at Mar-a-Lago?                           24       Q. Do you recall, as you sit here now,
25       A. I don't recall specific                      25   one way or another, whether Virginia Roberts




                                                                                 18 (Pages 66 to 69)
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 2   was a masseuse, a towel girl, a maintenance          2       covered extensively.
 3   person or any other type employee at                 3          MR. BOIES: I understand what the
 4   Mar-a-Lago?                                          4       prior deposition --
 5       A. I do not.                                     5       A. Other than friends of my family and
 6       Q. Did Mr. Epstein ever ask you to               6   friends of other people's people, and the
 7   attempt to obtain or secure people to give           7   people that I've identified, I am aware that
 8   him massages that were not professional              8   Jeffrey had friends that came over that
 9   masseuses?                                           9   brought their kids with them from time to
10       A. No.                                          10   time.
11       Q. Do you remember somebody by the              11       Q. These kids that you refer to, they
12   name of                                             12   didn't give Mr. Epstein massages, did they?
13       A. I don't believe I ever met him.              13          MR. PAGLIUCA: Mr. Boies, this has
14       Q. You don't believe you ever met him?          14       been asked and answered already.
15       A. No.                                          15          MR. BOIES: I don't think that
16       Q. Do you remember anyone other than            16       particular question was asked and
17   yourself who secured or obtained people to          17       answered, but whether it was asked and
18   give Mr. Epstein massages?                          18       answered or not, you can instruct not to
19          MR. PAGLIUCA: Objection to form              19       answer and then we will move on. I
20       and foundation.                                 20       think we take much more time with your
21       A. Can you ask the question again,              21       interjections than we would if you
22   please?                                             22       simply let the witness answer the
23       Q. Do you remember anyone other than            23       question.
24   yourself who secured or obtained people to          24          MR. PAGLIUCA: Well, we do, but
25   give Mr. Epstein massages?                          25       then we go down this road where you keep
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 2          MR. PAGLIUCA: Objection to form               2       asking these questions that have already
 3       and foundation.                                  3       been asked and answered.
 4       A. I believe Jeffrey did get massages            4          So the witness can answer the
 5   from other people who were recommendations           5       question, but let's stick to the topic
 6   from other people for massages that had              6       here.
 7   nothing to do with me.                               7          MR. BOIES: If you want to instruct
 8       Q. Do you know who?                              8       her not to answer, instruct her not to
 9       A. I only know what I read. Virginia             9       answer. You are not going to convince
10   gave people.                                        10       me with speeches.
11       Q. Other than what Virginia had said            11       A. What is the question, please?
12   in the last 10 years, were you aware of             12       Q. You referred to friends of
13   anyone who was obtaining people to give             13   Mr. Epstein bringing their kids with them
14   Mr. Epstein massages other than yourself?           14   when they came over?
15       A. I'm not -- I don't know what other           15       A. Yes.
16   people do. I know that other people                 16       Q. Those kids, as you described, did
17   recommended massages to him, but I can't            17   not give Mr. Epstein massages, correct?
18   testify to what other people do for him or          18       A. I don't believe so.
19   did for him.                                        19       Q. Limiting the people that we're
20       Q. Back in the 1990s and the 2000s,             20   talking about just to people who gave
21   did you see women under the age of 21 at            21   Mr. Epstein massages or who were brought to
22   Mr. Epstein's houses?                               22   the home to give Mr. Epstein massages, were
23          MR. PAGLIUCA: This has been asked            23   there people other than you who were
24       and answered in her prior deposition.           24   responsible for bringing those people to Mr.
25       Do you understand that? It's been               25   Epstein's house?




                                                                                 19 (Pages 70 to 73)
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 2       A. I don't know what -- I don't know                 2   house in Columbus, Ohio, correct?
 3   who owned -- I don't know anything about the             3      A. I don't know the arrangement that
 4   ownership of the property or how Jeffrey had             4                  had with Jeffrey. I believe she
 5   it or why he stayed there, I don't know.                 5   was painting there, but I was never aware of
 6       Q. Was it clear to you that Jeffrey                  6   the arrangement. I know that I saw her in
 7   had arranged for                  to stay at             7   Ohio at a house.
 8   wherever she was staying in Ohio?                        8      Q. When you were with                     at
 9          MR. PAGLIUCA: Objection to form                   9   this house in Columbus, Ohio, Mr. Epstein was
10       and foundation.                                     10   with you, correct?
11       A. I have no idea what the arrangement              11      A. I went to Ohio with him on
12   was between                  and Jeffrey.               12   business, and we were at a house that he
13       Q. When you referred to the property                13   could stay at and I stayed at, and I recall
14   where                 was staying, you said you         14                  being at this house. That is
15   didn't know how Jeffrey had it?                         15   what I recall.
16       A. What's your question?                            16      Q. When you went to Ohio with
17       Q. Was it your understanding that                   17   Mr. Epstein, did you see                  on more
18   Jeffrey did have that property that she was             18   than one occasion?
19   staying at in some capacity or another,                 19      A. I don't recall.
20   either owning it or leasing it or having been           20      Q. You saw                    in Ohio with
21   given it by a friend?                                   21   Mr. Epstein on at least one occasion,
22          MR. PAGLIUCA: Objection to form                  22   correct?
23       and foundation.                                     23          MR. PAGLIUCA: Objection to form
24       A. I have no idea.                                  24      and foundation.
25       Q. Where was this property that you                 25      A. I recall seeing her in Ohio, but I
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 1       G. Maxwell - Confidential                            1       G. Maxwell - Confidential
 2   and Mr. Epstein visited                   at in          2   couldn't tell you how many times I saw her.
 3   Ohio?                                                    3   For sure once, because I have a recollection
 4          MR. PAGLIUCA: Objection to form                   4   of seeing her once.
 5      and foundation.                                       5      Q. And the house in which you and
 6      A. It was in Columbus.                                6   Mr. Epstein and                 were in
 7      Q. Was it a house or an apartment?                    7   Columbus, Ohio, was that a house that you and
 8      A. It was a house.                                    8   Mr. Epstein were staying in overnight?
 9      Q. When you and Mr. Epstein visited                   9      A. I stayed overnight there.
10                   at this house in Columbus, was          10      Q. Was                   staying there
11   anyone else in the house?                               11   overnight?
12      A. I never visited                   at the          12      A. I don't recall.
13   house.                                                  13      Q. How many nights did you and
14      Q. Did you see                    in Ohio?           14   Mr. Epstein stay in this house in Columbus?
15      A. I recall seeing her, but I didn't                 15      A. I don't recall.
16   visit. I didn't go to Ohio to see                       16      Q. Was it more than one?
17           .                                               17      A. I don't recall.
18      Q. When you went to Ohio, did you see                18      Q. The night or nights that you and
19                                                           19   Mr. Epstein stayed at this house in Columbus,
20      A. I recall seeing                  in               20   was                 there?
21   Ohio.                                                   21      A. I don't recall.
22      Q. Where did you see her?                            22      Q. When you saw                     in Ohio,
23      A. I recall seeing her at this house                 23   did you talk to her?
24   that Jeffrey stayed at.                                 24      A. I'm assuming I must have said
25      Q.                   was staying in the              25   hello, so yes.




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 2       and foundation.                                  2   people how to give massage. Did you do that?
 3       A. No. With a clarification, I do --             3      A. I have not done that.
 4   I have very -- how to massage feet, pressure         4      Q. Did you ever tell or show people
 5   points on a foot and pressure points on a            5   how to give Mr. Epstein a massage?
 6   hand.                                                6      A. No.
 7       Q. Is what you're saying is that you             7      Q. Did you ever tell or show people at
 8   gave people instructions as to how to massage        8   Mr. Epstein's properties how to give
 9   feet and hands?                                      9   massages?
10       A. I have never given any                       10      A. No.
11   instructions. I have shown where pressure           11      Q. Did you at any time, at any of
12   points are on a hand and on a foot, but I           12   Mr. Epstein's properties, tell or show anyone
13   have never given instructions on how to do          13   how to give massages or how Mr. Epstein liked
14   it. I have demonstrated where a pressure            14   massages?
15   point on a hand and a foot is.                      15          MR. PAGLIUCA: Objection to form
16       Q. Did you do that demonstration with           16      and foundation.
17   people who were giving or were planning to          17      A. No. I think Mr. Epstein is
18   give Mr. Epstein massages?                          18   perfectly capable --
19          MR. PAGLIUCA: Objection to form              19          MR. PAGLIUCA: There is no question
20       and foundation.                                 20      pending.
21       A. No, just in general, something               21      Q. Did Mr. Epstein, in your presence,
22   that I know how to do, so it would be just as       22   ever tell or show anyone how he liked
23   a general thing I have done.                        23   massages?
24       Q. When you talk about general thing            24      A. I don't recall.
25   you have done, is to tell people where the          25      Q. Did Mr. Epstein ever tell you how
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 1        G. Maxwell - Confidential                       1        G. Maxwell - Confidential
 2   pressure points are on hands and feet?               2   he liked or didn't like massages given by any
 3       A. Yes.                                          3   particular person?
 4       Q. Did you ever use that knowledge to            4       A. I can't recall.
 5   try to show someone who was giving or was            5       Q. In other words, did he ever praise
 6   planning to give Mr. Epstein a massage how to        6   to you or compliment to you some massage that
 7   do it?                                               7   he had gotten or some person who had given
 8          MR. PAGLIUCA: Objection to form               8   him a massage?
 9       and foundation. Asked and answered.              9       A. I'm sure in the course of time he
10       A. I am not aware of ever having done           10   did, but I can't recall.
11   that, but I am aware of having shown people         11       Q. Did he ever complain to you or
12   that there is a pressure point on the hand          12   criticize the massage that anyone gave him?
13   and foot. I have no specific knowledge of           13       A. Again, I don't recall.
14   who. Just in general, I have done it.               14       Q. You know
15       Q. Did you show people pressure points          15                    , correct?
16   on hands and feet in Mr. Epstein's house in         16       A. I do.
17   Palm Beach?                                         17       Q. Did Mr. Epstein, insofar as you
18       A. I don't recall with specificity              18   have any reason to believe, ever engage in
19   where. I just know I do it because it's just        19   sexual activities with her?
20   something that I happen to know, it helps           20       A. I have no knowledge.
21   people, something I know.                           21       Q. Did you ever engage in sexual
22       Q. What I'm trying to be sure that I            22   activities with
23   have your testimony on is whether at any of         23       A. No.
24   Mr. Epstein's properties, whether you call it       24       Q. Have you had any conversations with
25   instructions or not, told people or showed          25                            about Mr. Epstein's




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 2   massages or sexual activities?                        2      at all improper. I am not making any
 3           MR. PAGLIUCA: Objection to form               3      assertions. I'm simply asking
 4      and foundation.                                    4      questions. I'm trying to find out what
 5      A. No.                                             5      the facts are.
 6      Q. When was the last time you had any              6          MR. PAGLIUCA: No, you are not.
 7   communications with                                   7          MR. BOIES: Yes, I am. You are
 8      A. A long time ago. So long, I don't               8      trying to keep the facts from coming
 9   recall.                                               9      out.
10      Q. Were you aware that                            10          MR. PAGLIUCA: No, I'm not. I'm
11            was noticed for a deposition in this        11      trying to keep this orderly and not
12   case?                                                12      abusive as to where it is going.
13      A. I believe I did know that, yes.                13          MR. BOIES: This is so far from
14      Q. Did you have any conversations with            14      abusive.
15   anyone as to whether or not                          15          MR. PAGLIUCA: I think we should
16            would or should show up for that            16      take a lunch break, given it is noon.
17   deposition?                                          17          MR. BOIES: We will do it in a half
18           MR. PAGLIUCA: Wait a minute, what            18      hour, I want to finish this line of
19      does that have to do with the court's             19      questioning. I will guarantee we are
20      order. Don't answer that question.                20      out by 12:30.
21      Just don't answer it. This is silly.              21   BY MR. BOIES:
22           MR. BOIES: I actually think it is            22      Q. Let me ask you about a few other
23      far from silly. I think it goes to an             23   people.
24      obstruction of justice situation that I           24                             , do you know her?
25      think you would be well advised to allow          25      A. I do.
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 2      your client to answer the question on.             2      Q. Is she anyone with whom Mr. Epstein
 3          MR. PAGLIUCA: Do you have a good               3   had sex?
 4      faith basis to suggest that she                    4          MR. PAGLIUCA: Objection to form
 5      suggested that               not show up at        5      and foundation.
 6      her deposition yesterday?                          6      A. I have no idea.
 7          MR. BOIES: I don't know whether it             7      Q. Is she anyone with whom Mr. Epstein
 8      was you, I don't know whether it was               8   engaged in sexual activities?
 9      her, I don't know who did it. What I do            9          MR. PAGLIUCA: Objection to form
10      know is that she didn't show up, and I            10      and foundation.
11      think the evidence will be quite clear            11      A. I have no personal knowledge.
12      that your client's testimony about the            12      Q. When you say you have no personal
13      extent of her relationship with                   13   knowledge, what do you mean by personal
14                       is not accurate.                 14   knowledge?
15          And in that context, I think the              15      A. I mean that I've read the police
16      circumstances under which it turns out            16   reports, so that's the only knowledge I have
17      that she doesn't show up is entirely              17   of what         or anybody else has with
18      appropriate for examination, but that is          18   Jeffrey. I have no way of knowing whether
19      something that I'm happy to talk to the           19   they did or not. Personal knowledge means
20      judge about.                                      20   did I know myself.
21          MR. PAGLIUCA: Sure. And I hope                21      Q. After you saw the police reports
22      that you give him some good faith basis           22   about Mr. Epstein's relations with
23      for the assertions that you are making            23                , did you ever talk to Mr. Epstein
24      here today, which are wholly improper.            24   about whether or not that police report was
25          MR. BOIES: I don't think they are             25   or was not accurate?




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 2      A. I have not.                                     2       A. A very long time ago.
 3      Q. You did communicate with                        3       Q. How long?
 4   Mr. Epstein after you saw that police report,         4       A. I think two years ago, something
 5   correct?                                              5   like that.
 6         MR. PAGLIUCA: Objection to form                 6       Q. Before this defamation lawsuit?
 7      and foundation.                                    7       A. Excuse me?
 8      A. I don't know that's true.                       8       Q. Before this defamation lawsuit?
 9      Q. When did you see the police report?             9       A. You are asking if I communicated
10         MR. PAGLIUCA: If this involves                 10   with him before the defamation? What are you
11      communications with me, I'm going to              11   asking me?
12      instruct you not to answer the                    12       Q. Have you communicated with
13      questions.                                        13   Mr. Epstein since this defamation lawsuit was
14      Q. Is it your testimony that the only             14   filed?
15   time you saw the police reports was when it          15       A. I don't believe I have. I haven't
16   was shown to you by your counsel?                    16   spoken to him -- no, I don't think so. I
17      A. That's the only time I recollect.              17   don't remember when it was filed, no, I don't
18      Q. What?                                          18   think so.
19      A. That's the only time I remember                19       Q. By communication, I don't mean just
20   seeing it.                                           20   speaking to him. I mean writing him a
21      Q. When did your counsel show you the             21   letter, email, communicated in any way?
22   police report?                                       22       A. No.
23         MR. PAGLIUCA: If you remember, you             23       Q. When you say no, does that mean you
24      can answer that question.                         24   have not communicated with Mr. Epstein in any
25      A. I don't know. I guess recently,                25   way since this lawsuit was filed?
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 2   but I don't recall.                                   2      A. I don't recall any communications
 3       Q. In the last 30 days?                           3   with him since this lawsuit has been filed.
 4       A. I really don't remember when I saw             4      Q. Did you ever discuss
 5   it.                                                   5            with Mr. Epstein?
 6       Q. Was the first time that you saw the            6          MR. PAGLIUCA: Objection to form
 7   police report sometime this calendar year             7      and foundation.
 8   2016?                                                 8      A. I would have had conversations with
 9       A. I don't remember when I've seen                9   him in general terms. Obviously I talked
10   them. It's in the course of this latest              10   about her with him but not in any context of
11   lies.                                                11   this situation. Just I will have talked to
12       Q. What do you mean, in the course of            12   him about her.
13   this latest lies?                                    13      Q. When was the last time you talked
14       A. In the course of this defamation              14   to Mr. Epstein about
15   suit.                                                15      A. Probably in 2003, 2002.
16       Q. And you may not be able to answer             16      Q. What was the subject matter of that
17   this, but if you can, I just want to know.           17   conversation?
18   When you saw the police report in the course         18      A. I have no idea.
19   of this defamation suit, was it this calendar        19      Q. Did it have anything to do with
20   year, that is 2016, sometime?                        20   Mr. Epstein's relationship with
21       A. I don't know, I'm sorry, I have no            21
22   memory.                                              22      A. No, I have no idea. It would have
23       Q. When is the last time you had a               23   nothing to do with anything other than a
24   conversation or communication with                   24   work-related issue.
25   Mr. Epstein?                                         25      Q. Did                        work for




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 2      this. You don't need to testify about             2      AFTERNOON SESSION
 3      this again. We will take it up with the           3         (Time noted: 1:16 p.m.)
 4      judge, if we need to. I let this go on            4
 5      for 15 minutes about Palm Beach.                  5   G H I S L A I N E M A X W E L L,
 6         MR. BOIES: I ask the question, you             6     resumed and testified as follows:
 7      give the instruction, the judge decides.          7
 8      Q. In 2005, were you assisting in the             8          THE VIDEOGRAPHER: The time is 1:16
 9   arranging of massages for Mr. Epstein?               9      p.m., and we are back on the record.
10      A. No.                                           10      This also begins DVD No. 5.
11      Q. Not at all is your testimony?                 11          MR. PAGLIUCA: One housekeeping
12      A. Correct.                                      12      matter before you get started. The
13         MR. BOIES: This is a good time to             13      original deposition was as confidential
14      take a lunch break.                              14      and we would designate this continued
15         MR. PAGLIUCA: Okay. I don't                   15      deposition as confidential as well.
16      intend on being here all day, so if you          16          MR. BOIES: Okay.
17      have some important questions you want           17          Let me ask you to look at a
18      to ask, you may want to get to those.            18      document that has been marked as Maxwell
19         MR. BOIES: You can walk out any               19      Deposition Exhibit 28. This is another
20      time you want.                                   20      list of names.
21         MR. PAGLIUCA: We are getting                  21          (Maxwell Exhibit 28, List of names,
22      close.                                           22      marked for identification, as of this
23         MR. BOIES: The judge will decide              23      date.)
24      whether that's appropriate or not.               24      Q. What I would ask you to do is to
25         MR. PAGLIUCA: We are getting                  25   identify the names that are here that you do
                                              Page 135                                                Page 137
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 2      close.                                            2   not recognize. That is, I think you will
 3         THE VIDEOGRAPHER: It's 12:15 p.m.              3   recognize most of the names --
 4      and we are going off the record.                  4          MR. POTTINGER: Excuse me one
 5         (Whereupon, a luncheon recess was              5       second.
 6      taken at 12:15 p.m.)                              6       Q. What I was saying was that I would
 7                                                        7   like you to look at the names here and tell
 8             * * *                                      8   me which names you do not recognize.
 9                                                        9       A. I pretty much recognize these
10                                                       10   names. I don't know everybody very well, but
11                                                       11   I recognize the names.
12                                                       12       Q. You know who they are?
13                                                       13       A. I don't know if I know who they
14                                                       14   are. I recognize the names.
15                                                       15       Q. Are most of the people on this list
16                                                       16   people that you've met before?
17                                                       17          MR. PAGLIUCA: Objection to form
18                                                       18       and foundation.
19                                                       19       A. I believe I've met pretty much
20                                                       20   everybody on this list.
21                                                       21       Q. Who on the list have you not met?
22                                                       22       A. I think I met them all.
23                                                       23       Q. Now, were all of these people
24                                                       24   people that at one time or another you were
25                                                       25   with with Mr. Epstein?




                                                                             35 (Pages 134 to 137)
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 2       Q. Insofar as you were aware, did                  2      what has been going on, and I
 3   Virginia Roberts ever have a male friend that          3      attribute -- maybe I shouldn't attribute
 4   visited her at the Epstein residences?                 4      it at all.
 5       A. I don't recall ever seeing a man                5          But if you want to instruct not to
 6   with Virginia. I believe she had a fiance              6      answer, instruct not to answer. If you
 7   that I was aware of, I think, but that's all.          7      don't, again, all I will do is request
 8       Q. When were you aware that Virginia               8      that you cease your comments. I can't
 9   Roberts had a fiance?                                  9      do that. All I can do is seek sanctions
10       A. I can't say I became aware from                10      afterwards.
11   reading all this stuff, or I was aware of it          11   BY MR. BOIES:
12   at the time. I don't know.                            12      Q. Ms. Maxwell.
13       Q. Did you ever meet Virginia Roberts'            13      A. Mr. Boies.
14   fiance?                                               14      Q. What?
15       A. I don't think I ever did. I don't              15      A. I'm replying. You said Ms.
16   recall meeting any men with Virginia.                 16   Maxwell, I said Mr. Boies.
17       Q. Do you know                     ,              17      Q. Do you have a question?
18                                                         18      A. No.
19      A. I never heard that name before.                 19      Q. I have a question.
20      Q. Have you ever heard the name of                 20      A. I'm sure you do.
21                                                         21      Q. During the time that you were in
22      A. I don't recollect that name at all.             22   the property or at the property that
23         MR. PAGLIUCA: Mr. Boies, those                  23   Mr. Epstein has in the Virgin Islands, were
24      names are on Exhibit 26, which we have             24   you aware of Mr. Epstein getting any
25      already gone over and she said she                 25   massages?
                                                Page 155                                                  Page 157
 1       G. Maxwell - Confidential                          1        G. Maxwell - Confidential
 2      didn't recognize those people, so now we            2       A. He did receive massages at the
 3      are just repeating things that we went              3   Virgin Islands property.
 4      over.                                               4       Q. From whom did he receive massages
 5          MR. BOIES: I am in the context of               5   at the Virgin Islands?
 6      seeing if I can refresh her                         6       A. There is a professional masseuse
 7      recollection, because these are women               7   and masseur that came from St. Thomas.
 8      that               , who she also does not          8       Q. This was somebody who came over
 9      recall, brought over to Mr. Epstein's               9   from St. Thomas for the day to give massages
10      residences, and I also want to make a              10   and then left, or was that person a resident?
11      very clear record of what her testimony            11       A. I believe, from memory, they came
12      is and is not right now.                           12   over, gave a massage and left.
13          Again, you can instruct her not to             13       Q. And who arranged for this person to
14      answer if you wish.                                14   come over from St. Thomas?
15          MR. PAGLIUCA: I'm trying to get to             15       A. Probably the staff at the island.
16      nonrepetitive questions here. You                  16       Q. But you don't know?
17      basically asked the same question three            17       A. The staff of the island would have
18      times. Then we get a pile of notes that            18   made those arrangements.
19      get pushed up to you, you read those.              19       Q. Who at the staff?
20      Then you ask those three times, and then           20       A. Whoever would have been running the
21      we go to another question. So it's                 21   island at that period of time.
22      taking an inordinately long amount of              22       Q. Do you know who that was?
23      time and it shouldn't.                             23       A. I'm sorry, in this moment I can't
24          MR. BOIES: I think that is a                   24   think of the names of the people who worked
25      demonstrably inaccurate statement of               25   on the island.




                                                                                40 (Pages 154 to 157)
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 1        G. Maxwell - Confidential                        1       G. Maxwell - Confidential
 2       Q. Did you ever arrange for anyone to             2       A. It was a cabana, and also he had a
 3   give Mr. Epstein a massage at his Virgin              3   beach place, a place on the beach where from
 4   Island property?                                      4   time to time he would...
 5       A. I don't recall if I ever made a                5       Q. Did you ever see Mr. Epstein being
 6   call to the massage people in St. Thomas. I           6   given a massage in the beach area where he
 7   don't recall.                                         7   from time to time had massages?
 8       Q. Did Mr. Epstein ever receive                   8       A. I don't have any recollection of a
 9   massages at his Virgin Island property from           9   specific memory, but it was just on the
10   people that he had brought with him on his           10   beach, so there wouldn't be any privacy, he
11   plane from the United States?                        11   would just be getting a massage.
12          MR. PAGLIUCA: Objection to form               12       Q. That would be visible to people who
13       and foundation.                                  13   are on the beach, correct?
14       A. I don't know.                                 14       A. It would be, yes.
15       Q. Did you ever participate in                   15       Q. Did you, at any time when you were
16   arranging for a massage for Mr. Epstein by           16   there, see Mr. Epstein being given a massage
17   someone who had been brought to the island on        17   in this beach area other than by a
18   Mr. Epstein's plane?                                 18   professional masseuse brought to the island
19       A. My memory of the massages on the              19   from St. Thomas?
20   island were from people who came from St.            20       A. I don't have any memory of -- I
21   Thomas.                                              21   don't have a specific memory of seeing him
22       Q. Does that mean that you never                 22   get a massage on the beach. I just have an
23   participated in arranging for a massage for          23   image of a massage on the beach, so I don't
24   Mr. Epstein at his Virgin Island property to         24   know who, I have no memory of it.
25   be given by someone who had been brought to          25       Q. Whether or not you have a specific
                                               Page 159                                                 Page 161
 1        G. Maxwell - Confidential                        1       G. Maxwell - Confidential
 2   the island on Mr. Epstein's plane?                    2   memory of it, do you have a general memory
 3          MR. PAGLIUCA: Objection to form                3   that from time to time Mr. Epstein got
 4       and foundation.                                   4   massages down in the beach area?
 5       A. I don't recall, I have no idea.                5      A. I have a general memory, I do.
 6       Q. Mr. Epstein did bring women to his             6      Q. Do you have a general memory that
 7   Virgin Island property on his plane from time         7   from time to time those massages were given
 8   to time, right?                                       8   to Mr. Epstein by people other than a
 9          MR. PAGLIUCA: Objection to form                9   professional masseuse brought to the island
10       and foundation.                                  10   from St. Thomas?
11       A. People came to the island who were            11          MR. PAGLIUCA: Objection to form
12   his guests.                                          12      and foundation.
13       Q. And some of those guests, as you              13      A. I have no idea who would be giving
14   described it, were women, right?                     14   him a massage in that general memory of mine,
15       A. Indeed.                                       15   so I can't say. The massages that I recall
16       Q. Did you ever participate in                   16   were from people from St. Thomas, and that's
17   arranging for any of the women that came to          17   what I recall.
18   Mr. Epstein's Virgin Island property to              18      Q. Did anyone ever complain to you
19   provide Mr. Epstein with a massage?                  19   that Mr. Epstein had demanded sex of them?
20       A. No.                                           20          MR. PAGLIUCA: Objection to form
21       Q. Where on the Virgin Island property           21      and foundation.
22   did Mr. Epstein have his massages?                   22      A. Is that a question?
23       A. I believe from memory he had them             23      Q. Yes.
24   in the master cabana.                                24      A. Never.
25       Q. In what?                                      25      Q. Do you know somebody named




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                                            Page 174                                                Page 176
 1       G. Maxwell - Confidential                      1        G. Maxwell - Confidential
 2      court's order.                                  2   sexual activities with
 3      Q. In terms of preparing for this               3          MR. PAGLIUCA: Objection to form
 4   deposition, what documents did you review?         4       and foundation.
 5           MR. PAGLIUCA: To the extent I              5       A. I didn't have any reason -- I had
 6      provided you with any documents to              6   no idea whether they were or weren't.
 7      review, I will tell you that's both --          7       Q. Were you with Mr. Epstein in 2005
 8      it's privileged and I instruct you not          8   when the Palm Beach police launched their
 9      to answer.                                      9   investigation?
10      Q. Did your lawyer provide you with            10          MR. PAGLIUCA: You don't have to
11   any documents to review in preparation for        11       answer the question. That's outside the
12   this deposition that refreshed your               12       court's order.
13   recollection about any of the events that         13       Q. When the Palm Beach police launched
14   occurred?                                         14   their investigation in 2005, did you make any
15           MR. PAGLIUCA: You can answer that         15   effort to retain records of the women who had
16      question.                                      16   been present at Mr. Epstein's residences in
17      A. No.                                         17   the prior period?
18      Q. How many documents did your lawyer          18          MR. PAGLIUCA: Don't answer that
19   provide you with?                                 19       question. It's outside the court's
20           MR. PAGLIUCA: You can answer.             20       order.
21      A. One, I believe.                             21       Q. When the Palm Beach police launched
22      Q. One document. Was that a document           22   their investigation in 2005, were you aware
23   that had been prepared by your attorney, or       23   of any effort to destroy records of women who
24   was it a document from the past?                  24   had been present at Mr. Epstein's residences
25           MR. PAGLIUCA: I will tell you not         25   in the prior period?
                                            Page 175                                                Page 177
 1       G. Maxwell - Confidential                      1       G. Maxwell - Confidential
 2      to answer that question.                        2          MR. PAGLIUCA: Don't answer that
 3      Q. Was the document that your attorney          3      question. It's outside the court's
 4   showed you a document that you had ever seen       4      order.
 5   before?                                            5      Q. In 2005, were you aware of any
 6         MR. PAGLIUCA: Again, don't answer            6   effort to destroy records of messages you had
 7      questions about what I showed you or            7   taken of women who had called Mr. Epstein in
 8      didn't show you.                                8   the prior period?
 9         She already testified that nothing           9          MR. PAGLIUCA: Don't answer that
10      refreshed her recollection.                    10      question. It's outside the court's
11         MR. BOIES: I don't have to accept           11      order.
12      that answer. I can ask these questions,        12          MR. BOIES: I said I would give you
13      and I think these are clearly not              13      a break every hour. It's been an hour.
14      privileged questions.                          14          MR. PAGLIUCA: Do you want a break
15      Q. Do you know a                               15      or do you want to keep going?
16      A. I do.                                       16          THE WITNESS: Keep going.
17      Q. Who is                                      17          MR. BOIES: What I told you before,
18      A. She was a friend of Jeffrey's.              18      you asked for a break every hour. I am
19      Q. Was                  someone with whom      19      happy to give you a break at a fixed
20   Mr. Epstein engaged in sexual activities?         20      time. What I'm not happy to do is
21         MR. PAGLIUCA: Objection to form             21      interrupt a chain of examination.
22      and foundation.                                22          So if you want a break now, we will
23      A. I don't know.                               23      take a break now. If you don't want a
24      Q. Did you ever have any reason to             24      break now, we will not break for another
25   believe that Mr. Epstein was engaged in           25      hour.




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 1                                                     1
 2            ---                                      2             ---
 3           INDEX                                     3   Questions Marked
 4            ---                                      4   Page Line Page Line       Page Line
 5                                                     5   None
 6   GHISLAINE MAXWELL                     PAGE        6             ---
 7    By Mr. Boies                4                    7
 8                                                     8
 9             ---                                     9
10            EXHIBITS                                10
11             ---                                    11
12   EXHIBIT                    PAGE                  12
13   Exhibit 26 List of names       23                13
14   Exhibit 27 Article          94                   14
15   Exhibit 28 List of names      135                15
16                                                    16
17                                                    17
18                                                    18
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 1                                                     1
 2              ---                                    2             CERTIFICATE
 3         DEPOSITION SUPPORT INDEX                    3
 4              ---                                    4
 5   Direction to Witness Not to Answer                5         I HEREBY CERTIFY that GHISLAINE
 6   Page Line Page Line Page Line                     6   MAXWELL, was duly sworn by me and that the
 7    50 22 50 25 51 5                                 7   deposition is a true record of the testimony
 8    51 9 51 17 51 22                                 8   given by the witness.
 9    52 2 81 17 82 6                                  9
10    82 25 83 7 94 21
                                                      10         _______________________________
                                                      11         Leslie Fagin,
11    95 6 98 12 118 11
                                                                 Registered Professional Reporter
12   142 6 142 13 165 16                              12         Dated: July 22, 2016
13   165 25 169 22 172 13                             13
14   172 22 173 4 173 24                              14
15   174 5 175 9 175 17                               15          (The foregoing certification of
16   175 25 176 8 183 14                              16   this transcript does not apply to any
17   186 23                                           17   reproduction of the same by any means, unless
18              ---                                   18   under the direct control and/or supervision
19   Request for Production of Documents              19   of the certifying reporter.)
20   Page Line Page Line Page Line                    20
21   None                                             21
22              ---                                   22
23   Stipulations                                     23
24   Page Line Page Line Page Line                    24
25   None                                             25




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 1
 2         ACKNOWLEDGMENT OF DEPONENT
 3
 4
 5          I,              , do hereby
 6   certify that I have read the foregoing pages,
 7   and that the same is a correct transcription
 8   of the answers given by me to the questions
 9   therein propounded, except for the
10   corrections or changes in form or substance,
11   if any, noted in the attached Errata Sheet.
12
13
14
15
16   GHISLAINE MAXWELL                   DATE
17
18
19
20   Subscribed and sworn
     to before me this
21        day of          , 2016.
22   My commission expires:
23
     Notary Public
24
25
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           ERRATA
 3         ------
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